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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

DELAINE SMITH, BRIAUNA BOSWORTH,
SHARRONA BRIGHTMAN, and
ELIZABETH MULRONEY

      Plaintiffs,

vs.                                                     Case No.: 3:20-cv-00629

SHERIFF MIKE WILLIAMS,
in his official capacity as Sheriff of the
Consolidated City of Jacksonville, Florida,
J.H. WING, individually; F. CANNADAY, individually;
DD. STUHR, individually; and C.S. JOHN, individually.

    Defendant.
___________________________________

                     JOINT MOTION FOR EXTENSION OF TIME
             TO FILE SUPPLEMENTAL MEMORANDA AND RESPONSE TO
                             MOTIONS TO DISMISS

        Plaintiffs and Defendant Sheriff Mile Williams (The Parties), by and through undersigned

counsel and pursuant to Local Rule 3.09, hereby moves this Honorable Court for its Order

authorizing an extension of time to file supplemental memoranda ordered by this Court on July

24, 2020 (Doc. 35), and for Plaintiff to file their response to Defendants’ motions to dismiss. (Doc.

24, 29).

        1.      On July 30, 2020, the Parties filed a notice with the Court indicating that they had

reached a tentative settlement of this action and were working to consummate a final settlement

agreement to resolve all claims in this matter. (Doc. 38) The notice also requested the Court stay

the matter until further informed by the parties. Id.

        2.      Several substantive motions remain pending which require briefing.
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        3.     On July 24, 2020, this Court entered an order directing the parties to submit

supplemental briefs no longer than ten pages addressing the issue of Plaintiffs’ standing to seek

injunctive relief in light of the Republican National Convention’s withdrawal from Jacksonville,

Florida. Those supplemental memoranda are due to be filed on or before July 31, 2020. (Doc. 35).

        4.     Furthermore, Plaintiffs received leave of court to file a consolidated response to the

individual officers’ motion to dismiss and Sheriff Williams’ motion to dismiss Counts I, II, and

XI of the Complaint on or before July 31, 2020. (Doc. 34).

        5.     The Parties have reached an agreement in principal to settle all claims in the case

and are in the process of finalizing the language of a settlement agreement to encapsulate the

agreed upon terms. The Parties’ tentative settlement agreement will resolve all issues in these

pending motions and the claims in this case once finalized. However, the Parties do not anticipate

being able to finalize the settlement agreement before the above briefing is due on July 31, 2020.

        6.     Completing briefing on these issues will require an unnecessary expenditure of

resources given the settlement agreement in this case. Furthermore, doing so may adversely impact

the settlement agreement, as one of the terms the parties have agreed to is the settlement of

attorney’s fees.

        7.     Pursuant to Local Rule 3.01(g), undersigned counsel certifies that they have

conferred with counsel for the individual officers and are authorized to represent that the

Defendants do not oppose the relief requested herein.

        WHEREFORE, the Parties respectfully request an extension of time to submit their

supplemental memoranda on standing to be due on or before August 10, 2020 and for Plaintiffs to

submit their consolidated Response to Defendants Motions to dismiss on or before August 14,



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2020 if an order staying the case or a finalized notice of settlement is not filed on or before those

dates.

                                   MEMORANDUM OF LAW

         Local Rule 3.09(a), Rules for the United States District Court for the Middle District of

Florida, provides: “No trial, hearing or other proceeding shall be continued upon stipulation of

counsel alone, but a continuance may be allowed by order of the court for good cause shown.”

Further, Federal Rule of Civil Procedure 6(b) states that when an act may or must be done within

a specified time, the Court may, for good cause, extend the time if a request is made before the

original time or its extension expires.

         Finally, as the United States Supreme Court has previously held, “‘the power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants. How

this can best be done calls for the exercise of judgment, which must weigh competing interests and

maintain an even balance.’” Air Line Pilots Ass’n v. Miller, 523 U.S. 866, 879 n. 6 (1998) (internal

citations omitted); see also Chudasama v. Mazda Motor Corp., 123 F.3d 1353 (11th Cir. 1997)

(“[w]e recognize that district courts enjoy broad discretion in deciding how best to manage the

cases before them.”). In the instant case, this motion and request for an extension of time has been

made before the time set for the Parties to file their supplemental briefing and for Plaintiffs to

respond to Defendants’ motions to dismiss, and also demonstrates good cause for the request. This

motion is not made for purposes of undue delay, but rather is sought to allow the Parties to reach

the final terms of settlement in this case.




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                                  Respectfully submitted,

    /s/ Jesse B. Wilkison                        /s/ Mary Margaret Giannini
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COUNSEL FOR PLAINTIFFS


                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been furnished via the CM-ECF System

which will send a notice of electronic filing to Dexter Davis, Esquire, dvdavis@35davis.com,

Jesse N. Driecer, Esquire, jesse@tassonelaw.com, Stephen Powell, Esquire, spowell@coj.net,

and Mary Margaret Giannini, Esquire, mgiannini@coj.net, and Paul Daragjati, Esquire,

paul@daragjatilaw.com, this 31st day of July 2020.


                                     /s/ Jesse B. Wilkison                 __
                                   ATTORNEY



JBW/km[protestors.mofet


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